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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

                                               )
 NO SPILL INC.,                                )
                                               )
                              Plaintiff,       )
 v.                                            )   Case No. 18-cv-2683 JAR/KGG
                                               )
 SCEPTER CORPORATION and                       )
 SCEPTER MANUFACTURING LLC,                    )
                                               )
                              Defendants.      )
                                               )
                                               )


               DEFENDANTS’ MOTION TO DISMISS FOR
  LACK OF PERSONAL JURISDICTION AND FAILURE TO STATE A CLAIM, OR
     ALTERNATIVELY, TO TRANSFER TO THE DISTRICT OF DELAWARE

       COMES NOW Scepter Corporation and Scepter Manufacturing, LLC (“Defendants”), and

move the court for an Order of Dismissal pursuant to Federal Rules of Civil Procedure 12(b)(2)

and 12(b)(6). This Motion to Dismiss is based on lack of personal jurisdiction over Scepter

Corporation and failure to state contract and trade dress claims. Alternatively, Defendants move

the court for an Order to Transfer to the District of Delaware. A Memorandum in Support of this

motion is being contemporaneously filed with this motion.
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                                              Respectfully submitted,

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                                                    Attorneys for Defendants Scepter Corporation
                                                    and Scepter Manufacturing, LLC


                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of March, 2019, I presented the foregoing to the Clerk
of the Court for filing and uploading to the CM/ECF system that will send notice of electronic
filing to counsel of record.



                                                       s/ Holly A. Dyer
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